Case: 4:23-cv-00242-BYP Doc #: 22 Filed: 03/14/23 1 of 3. PageID #: 141




 PEARSON, J.

                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION


 HAROLD R. FEEZLE, et al., etc.,                        )
                                                        )       CASE NO. 4:23CV0242
                  Plaintiffs,                           )
                                                        )
         v.                                             )       JUDGE BENITA Y. PEARSON
                                                        )
 NORFOLK SOUTHERN                                       )
 RAILWAY CO., et al.,                                   )
                                                        )
                  Defendants.                           )       ORDER

 *   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

 ANDREW ERDOS, et al., etc.,                            )
                                                        )       CASE NO. 4:23CV0268
                  Plaintiffs,                           )
                                                        )
         v.                                             )       JUDGE BENITA Y. PEARSON
                                                        )
 NORFOLK SOUTHERN                                       )
 CORPORATION., et al.,                                  )
                                                        )
                  Defendants.                           )       ORDER

 *   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

 GIOVANNI IRIZARRY, et al., etc.,                       )
                                                        )       CASE NO. 4:23CV0479
                  Plaintiffs,                           )
                                                        )
                  v.                                    )       JUDGE BENITA Y. PEARSON
                                                        )
 NORFOLK SOUTHERN                                       )
 CORPORATION, et al.,                                   )
                                                        )
                  Defendants.                           )       ORDER

 *   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *
Case: 4:23-cv-00242-BYP Doc #: 22 Filed: 03/14/23 2 of 3. PageID #: 142




 FRANK POLICARO, et al., etc.,                         )
                                                       )        CASE NO. 4:23CV0495
                 Plaintiffs,                           )
                                                       )
                 v.                                    )        JUDGE BENITA Y. PEARSON
                                                       )
 NORFOLK SOUTHERN                                      )
 CORPORATION, et al.,                                  )
                                                       )
                 Defendants.                           )        ORDER

 *   *   *   *   *    *   *    *   *   *   *   *   *    *   *    *   *   *   *   *   *   *   *   *   *   *

 EDWARD E. BARNHOUSE, et al., etc.,                    )
                                                       )        CASE NO. 4:23CV0510
                 Plaintiffs,                           )
                                                       )
                 v.                                    )        JUDGE BENITA Y. PEARSON
                                                       )
 NORFOLK SOUTHERN                                      )
 CORPORATION, et al.,                                  )
                                                       )
                 Defendants.                           )        ORDER



         On March 8, 2023, the Court entered an Order in each of the 18 cases then pending on the

 docket of the undersigned. Since that time, three new cases have been filed. See Irizarry v.

 Norfolk Southern Corp., No. 4:23CV0479 (N.D. Ohio filed March 9, 2023); Policaro v. Norfolk

 Southern Corp., No. 4:23CV0495 (N.D. Ohio filed March 11, 2023); Barnhouse v. Norfolk

 Southern Corp., No. 4:23CV0510 (N.D. Ohio filed March 13, 2023).

                                                       I.

         On or before March 15, 2023, counsel for Plaintiffs in Irizarry, Policaro, and Barnhouse

 shall join in the filing in Case No. 4:23CV0242 (i.e. the first-filed case) of the motion proposing



                                                       2
Case: 4:23-cv-00242-BYP Doc #: 22 Filed: 03/14/23 3 of 3. PageID #: 143




 a class counsel organizational structure, including, if necessary, a competing structure(s). See

 Fed. R. Civ. P. 23(g). The motion shall include in a single document the views of all counsel for

 Plaintiffs in the 21 cases now pending on the docket of the undersigned. Attorneys Seth A. Katz

 and M. Elizabeth Graham are responsible for coordinating the final version of the motion and

 Attorney Jayne Conroy shall file the motion. The motion and any briefing regarding it shall not

 be filed in any of the other pending cases.

                                                  II.

        On or before March 15, 2023, counsel for Plaintiffs in Irizarry, Policaro, and Barnhouse

 shall join in the filing in Case No. 4:23CV0242 of the Joint Status Report setting forth their

 views and the views of defense counsel regarding (1) the potential consolidation of the 21 cases,

 pursuant to Fed. R. Civ. P. 42(a), (2) the filing of a Master Consolidated Amended Complaint in

 Case No. 4:23CV0242, and (3) the timing of Defendants’ responsive filing. Attorneys Seth A.

 Katz and M. Elizabeth Graham are responsible for coordinating the final version of the Joint

 Status Report and Attorney Jayne Conroy shall file it. The Joint Status Report and any briefing

 regarding it shall not be filed in any of the other pending cases.



        IT IS SO ORDERED.


    March 14, 2023                                /s/ Benita Y. Pearson
 Date                                           Benita Y. Pearson
                                                United States District Judge




                                                   3
